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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA (JACKSONVILLE)

Inte: In Proceedings For A Reorganization Under
Chapter 11
Winn-Dixie Stores, Inc.

Case No. 3:05-bk-03817-JAF

Claim # Unknown
Debtors

NOTICE: OF TRANSFER OF CLAIM PURSUANT TO FRBP RULE 3001 (e) (1)

To transferor: MITCHELL SIGNS INC
PO BOX 4177
MERIDIAN, MS 39304

The transfer of your claim as shown above, in the amount of $ 202.66 has been transferred
(unless previously expunged by court order) to:

Trade-Debt.Net

P.O. Box 1487

West Babylon, NY 11704
No action is required if you do not object to the transfer of your claim. However, IF YOU
OBJECT TO THE TRANSFER OF YOUR CLAIM, WITHIN 20 DAYS OF THE DATE OF THIS NOTICE,
YOU MUST:

FILE A WRITTEN OBJECTION TO THE TRANSFER with:

United States Courthouse
300 North Hogan Street
Suite 3-350

Jacksonville, Florida 32202

SEND A COPY OF YOUR OBJECTION TO THE TRANSFEREE.
Refer to INTERNAL CONTROL NO. in your objection. If you file an objection, a
hearing will be scheduled. —
IF YOUR OBJECTION IS NOT TIMELY FILED, THE TRANSFEREE WILL BE SUBSTITUTED ON OUR
RECORDS AS THE CLAIMANT

FOR CLERK'S OFFICE USE ONLY:

This notice was mailed to the first named party, by first class mail, postage prepaid
on ,200__—«.

INTERNAL CONTROL NO.

Copy:(check) Claims Agent___—s Transferee___—s Debtor's Attorney __

Deputy Clerk

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Federal Taxpayer iD / Social Security Number (op Y-OFULP YSL

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P.O. BOX NY 11704
Ry: f WD 11801
Timothy McGuire
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